Case 2:05-cv-02151-BBD-dkv Document 33 Filed 08/31/05 Page 1 of 2 Page|D 25

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IN THE UNlTEI) sTATE DlsTRiCT COURT 05 AUG 3' P 3= 53
FOR THE WESTERN D]STRI CT OF TENNESSEE
W/D /Dri§` WQ‘CTCOWT
TERRENCE MCFADGON, on behalf of ) Case No.: 05-2]51-DV ` WFHS
themselves and all others similarly situated, ) \
)
Plaintiff, )
)
v. )
)
THE FRESH MARKET, INC., )
)
Dei`endaot. )

 

It is hereby ordered that the application of 'I`homas P. Dowd to appear and participate in

this action is hereby approved.

DATED 1111530 day of as Er,,¢c ,2005.
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Honorable Bernice Donald
US DISTRICT COURT

